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AO 245B            (Rev. 09/11) Judgment in a Criminal Case - DISTRICT OF OREGON CUSTOMIZED 11/2011
                   Sheet 1



                                              UNITED STATES DISTRICT COURT
                                                      DISTRICT OF OREGON

      UNITED STATES OF AMERICA                                          JUDGMENT IN A CRIMINAL CASE

                                         V.                             Case Number: 3:14-CR-00282-KI-02

                                                                        USM Number: 76411-065

                                                                        Ronald H. Hoevet and Celia A. Howes
      KYLE KEOKI YAMAGUCHI                                              Defendant’s Attorney

                                                                        Ryan W. Bounds
                                                                        Assistant U.S. Attorney


THE DEFENDANT:
[X]       pleaded guilty to count(s) ONE of the Indictment
[ ]       pleaded nolo contendere to count(s)                                              W hich was accepted by the court.
[ ]       was found guilty on count(s)                                              A fter a plea of not guilty.
The defendant is adjudicated guilty of the following offense(s):
                                                                                                Date Offense           Count Number(s)
 Title & Section                 Nature of Offense                                              Concluded

 18 USC § 371, § 2314,           Conspiracy to Transport, Receive, and Sell Stolen              January 2012 to        ONE
 and § 2315                      Goods                                                          March 2014

The defendant is sentenced as provided in pages 2 through 5 of this judgment. The sentence is imposed pursuant to the Sentencing Reform
Act of 1984.

[ ]       The defendant has been found not guilty on count(s)                        , an d is discharged as to such count(s).
[X]       Count 4 of the Indictment is dismissed on the motion of the United States.
[X]       The defendant shall pay a special assessment in the amount of $100.00 for Count ONE (1) payable immediately to the Clerk of
          the U.S. District Court. (See also the Criminal Monetary Penalties sheet.)

IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered
to pay restitution, the defendant shall notify the court and the United States Attorney of any material change in the defendant’s economic
circumstances.

                                                    April 8, 2015
                                                    Date of Imposition of Sentence

                                                    /s/ Garr M. King
                                                    Signature of Judicial Officer

                                                    GARR M. KING, UNITED STATES DISTRICT JUDGE
                                                    Name and Title of Judicial Officer

                                                    April 13, 2015
                                                    Date
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              Sheet 2 – Probation

DEFENDANT: YAMAGUCHI, KYLE KEOKI                                                                                Judgment–Page 2 of 5
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                                                        PROBATION

The defendant is hereby sentenced to probation for a term of: FIVE (5) Years.

The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug test within
15 days of release from imprisonment and at least two periodic drug tests thereafter.

[X] The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of future
    substance abuse. (Check, if applicable.)

If this judgment imposes a fine or restitution obligation, it shall be a condition of probation that the defendant pay any such fine
or restitution that remains unpaid at the commencement of the term of probation in accordance with the Schedule of Payments
set forth in the Criminal Monetary Penalties section of this judgment.

The defendant shall comply with the Standard Conditions of Probation that have been adopted by this court as set forth in this
judgment. The defendant shall also comply with the Special Conditions of Supervision as set forth below and any additional
conditions attached to this judgment.

                                   SPECIAL CONDITIONS OF SUPERVISION

1.   The defendant shall cooperate in the collection of DNA as directed by the probation officer, if required by law.

2.   The defendant’s employment shall be subject to approval by the probation officer.

3.   The defendant shall authorize release to the US Probation Officer any and all financial information by execution of a release
     of financial information form, or by any other appropriate means, as directed by the probation officer.

4.   The defendant shall comply with the terms of the civil settlement with Nike, Inc., as contemplated by the plea
     agreement in this case.

5.   The defendant shall have no contact with current or former employees of Nike, Inc., in person, by telephone,
     through correspondence or a third party unless approved in advance by the probation officer.

6.   The defendant shall perform FIFTY (50) hours of volunteer community service work at the direction of the probation officer.
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               Sheet 3 – Probation

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           STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

The Judges of the District of Oregon adopt the following standard conditions of probation and supervised release to apply in every
case in which probation and/or supervised release is imposed upon a defendant. The individual judge may impose other conditions
deemed advisable in individual cases of probation or supervised release supervision, as consistent with existing or future law.

1.    The defendant shall report in person to the probation office for the district to which he or she is released within 72 hours of
      release from the custody of the Bureau of Prisons.
2.    The defendant shall not commit another federal, state, or local crime and shall not illegally possess a controlled substance.
      Revocation of probation or supervised release is mandatory for illegal possession of a controlled substance.
3.    The defendant shall not possess a firearm, destructive, or dangerous device.
4.    If the defendant illegally uses drugs or abuses alcohol, has a history of drug or alcohol abuse, or drug use or possession is
      determined to be an element of the defendant’s criminal history or instant offense, the defendant shall participate in a
      substance abuse treatment program as directed by the probation officer which may include urinalysis testing to determine if
      the defendant has used drugs or alcohol. In addition to urinalysis testing that may be part of a formal drug treatment program,
      the defendant shall submit up to eight (8) urinalysis tests per month.
5.    The defendant shall submit to a search of his/her person, residence, office or vehicle, when conducted by a United States
      Probation Officer at a reasonable time and in a reasonable manner, based upon reasonable suspicion of contraband or
      evidence of a violation of a condition of supervision. Failure to submit to a search may be grounds for revocation. The
      defendant shall warn other residents that the premises may be subject to searches pursuant to this condition.
6.    The defendant shall not leave the judicial district without the permission of the court or probation officer.
7.    The defendant shall report to the probation officer as directed by the court or probation officer, and shall submit a truthful
      and complete written report within the first five days of each month.
8.    The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer.
      The defendant may decline to answer inquiries if a truthful response would tend to incriminate him/her. Such a refusal to
      answer may constitute grounds for revocation.
9.    The defendant shall support his or her dependents and meet other family responsibilities to the best of his or her financial
      ability.
10.   The defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training,
      or other acceptable reasons.
11.   The defendant shall notify the probation officer within 72 hours of any change in residence or employment.
12.   The defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
      narcotic or other controlled substance, or any paraphernalia related to such substances, except as prescribed by a physician.
      If, at any time, the probation officer has reasonable cause to believe the defendant is using illegal drugs or is abusing alcohol,
      the defendant shall submit to urinalysis testing, breathalyzer testing, or reasonable examination of the arms, neck, face, and
      lower legs.
13.   The defendant shall not knowingly frequent places where controlled substances are illegally sold, used, distributed, or
      administered.
14.   The defendant shall not knowingly associate with any persons engaged in criminal activity, and shall not knowingly associate
      with any person convicted of a felony, unless granted permission to do so by the probation officer.
15.   The defendant shall permit a probation officer to visit him or her at any reasonable time at home or elsewhere, and shall
      permit confiscation of any contraband observed in plain view by the probation officer.
16.   The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a law enforcement officer.
17.   The defendant shall not enter into any agreement to act as an informant or special agent of a law enforcement agency without
      the permission of the court.
18.   As directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by his or her
      criminal record or personal history and characteristics, and shall permit the probation officer to make such notifications and
      to confirm the defendant’s compliance with such a notification requirement. This requirement will be exercised only when
      the probation officer believes a reasonably foreseeable risk exists or a law mandates such notice. Unless the probation officer
      believes the defendant presents an immediate threat to the safety of an identifiable individual, notice shall be delayed so the
      probation officer can arrange for a court hearing and the defendant can obtain legal counsel.
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                Sheet 4 – Criminal Monetary Penalties

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                                            CRIMINAL MONETARY PENALTIES

The defendant shall pay the following total criminal monetary penalties in accordance with the Schedule of Payments set forth
in this Judgment:
                    Assessment                                          Fine                        Restitution                    TOTAL
                    (as noted on Sheet 1)

   TOTALS                         $100.00                               $0.00                         $0.00                        $100.00

[ ] The determination of restitution is deferred until                                   . An Amended Judgment in a Criminal Case will be
    entered after such determination.

[ ] The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
     otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(I), all non-
     federal victims must be paid in full prior to the United States receiving payment.

                                                                                 Amount of Restitution                    Priority Order
          Name of Payee                 Total Amount of Loss*                         Ordered                        or Percentage of Payment

                                                        $                                       $


 TOTALS                                                 $                                       $

[ ] If applicable, restitution amount ordered pursuant to plea agreement                    $                            .

[ ] The defendant shall pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is paid in full
    before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on the
    Schedule of Payments may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

[ ] The court determined that the defendant does not have the ability to pay interest and it is ordered that:

     [ ]        the interest requirement is waived for the [ ] fine and/or [ ] restitution.

     [ ]        the interest requirement for the [ ] fine and/or [ ] restitution is modified as follows:


                 Any payment shall be divided proportionately among the payees named unless otherwise specified.



*Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18, United States Code, for offenses committed on
or after September 13, 1994, but before April 23, 1996.
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AO 245B        (Rev. 09/11) Judgment in a Criminal Case - DISTRICT OF OREGON CUSTOMIZED 11/2011
               Sheet 5 – Schedule of Payments

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                                                      SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A. [X]         Lump sum payment of $100.00 due immediately in full.

               [ ]        not later than                     , or
               [ ]        in accordance with [ ] C or [ ] D below; or

B. [X]         Payment to begin immediately (may be combined with C below), or

C. [ ]         If there is any unpaid balance at the time of defendant’s release from custody, it shall be paid in monthly installments of
               not less than $            Until paid in full to commence immediately upon release from imprisonment.

D. [ ]         Special instructions regarding the payment of criminal monetary penalties:


[ ] Payment of criminal monetary penalties, including restitution, shall be due during the period of imprisonment as follows:
    (1) 50% of wages earned if the defendant is participating in a prison industries program; (2) $25 per quarter if the defendant is not
    working in a prison industries program.

It is ordered that resources received from any source, including inheritance, settlement, or any other judgment, shall be applied to any
restitution or fine still owed, pursuant to 18 USC § 3664(n).

All criminal monetary penalties, including restitution, except those payments made through the Federal Bureau of Prisons’ Inmate
Financial Responsibility Program, are made to the Clerk of Court at the address below, unless otherwise directed by the Court, the
Probation Officer, or the United States Attorney.

[X] Clerk of Court                                    [ ] Clerk of Court                                     [ ] Clerk of Court
    US District Court - Oregon                            US District Court - Oregon                             US District Court - Oregon
    1000 SW Third Avenue                                  405 East 8th Avenue                                    310 West Sixth Street
    Suite 740                                             Suite 2100                                             Room 201
    Portland, OR 97204                                    Eugene, OR 97401                                       Medford, OR 97501

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

[ ] Joint and Several
Case Number
Defendant and Co-Defendant Names                                              Joint and Several                     Corresponding Payee,
(including defendant number)                      Total Amount                Amount                                if appropriate


     [ ]       The defendant shall pay the cost of prosecution.
     [ ]       The defendant shall pay the following court cost(s):
     [ ]       The defendant shall forfeit the defendant’s interest in the following property to the United States:




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
